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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10          v.                                         ) 2:11-CR-395-PMP-(GWF)
                                                       )
11 EDWARD LIU,                                         )
                                                       )
12                         Defendant.                  )
13                                      FINAL ORDER OF FORFEITURE

14           On July 8, 2014, the United States District Court for the District of Nevada entered an

15 Amended Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18,

16 United States Code, Section 1029(c)(1)(C); Title 18, United States Code, Section 981(a)(1)(C) and

17 Title 28, United States Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(B)

18 based upon the plea of guilty by defendant EDWARD LIU to the criminal offense, forfeiting the

19 property set forth in the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment and

20 shown by the United States to have the requisite nexus to the offense to which defendant EDWARD

21 LIU pled guilty. Criminal Indictment, ECF No. 1; Change of Plea, ECF No. 32; Plea Agreement, ECF

22 No. 34; Amended Preliminary Order of Forfeiture, ECF No. 37.

23           This Court finds the United States of America published the notice of forfeiture in accordance

24 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

25 from July 12, 2014, through August 10, 2014, notifying all potential third parties of their right to

26 petition the Court. Notice of Filing Proof of Publication, ECF No. 38.
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 1           This Court finds no petition was filed herein by or on behalf of any person or entity and the

 2 time for filing such petitions and claims has expired.

 3           This Court finds no petitions are pending with regard to the assets named herein and the time

 4 for presenting such petitions has expired.

 5           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 6 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 7 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 8 32.2(c)(2); Title 18, United States Code, Section 1029(c)(1)(C); Title 18, United States Code, Section

 9 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code, Section

10 982(a)(2)(B); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according

11 to law:

12           an in personam criminal forfeiture money judgment of $93,533.70 in United States Currency,

13 including:

14           1) Sony PlayStation 3, 120 Gigabyte (GB), Serial Number (S/N): CG165023869;

15           2) Sony PlayStation 3, 120 GB, S/N: CG158769194;

16           3) Sony PlayStation 3, 120 GB, S/N: CG160257818;

17           4) Sony PlayStation 3, 120 GB, S/N: CG160034181;

18           5) Sony PlayStation 3, 120 GB, S/N: CG216734454;

19           6) Sony PlayStation 3, 120 GB, S/N: CG157528747;

20           7) Sony PlayStation 3, 120 GB, S/N: CG160299009;

21           8) Sony Play Station Portable (PSP), S/N: 01-27400751-0579771PSP1000;

22           9) Sony PSP, S/N: AB017856225-PSP2001;

23           10) Sony Play Station Portable (PSP) video game: Monster Hunter;

24           11) Sony PSP video game: Prince of Persia;

25           12) Sony PSP video game: Need for Speed;

26           13) Sony PSP video game: Grand Theft Vice City Stories;

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 1     14) Nintendo DS, S/N: TW711253641;

 2     15) Nintendo DS, S/N: TW710312509;

 3     16) Nintendo DS, S/N: TW413449991;

 4     17) Nintendo DS, S/N: TW710367547;

 5     18) Nintendo DS, S/N: TW418728732;

 6     19) Nintendo DS, S/N: TW711197907;

 7     20) Nintendo DS, S/N: TW707877486;

 8     21) Nintendo DS, S/N: TW415856018;

 9     22) Nintendo DS, S/N: TW711256888;

10     23) Apple IPOD Touch, 64 GB, S/N: 9C937ACA6K4;

11     24) Apple IPOD Touch, 64 GB, S/N: 9C9376MG6K4

12     25) Apple IPOD Touch, 64 GB, S/N: 9C9372TN6K4;

13     26) Apple IPOD Touch, 64 GB, S/N: 9C93721W6K4;

14     27) Apple IPOD Touch, 64 GB, S/N: 9C9375QV6K4;

15     28) Apple IPOD Touch, 64 GB, S/N: 9C936SJR6K4;

16     29) Apple IPOD Touch, 64 GB, S/N: 9C9378A46K4;

17     30) Apple IPOD Touch, 64 GB, S/N: 9C936QPC6K4;

18     31) Apple IPOD Touch, 64 GB, S/N: 9C936XJK6K4;

19     32) Apple IPOD Touch, 64 GB, S/N: 9C936T5Y6K4;

20     33) Apple IPOD Touch, 64 GB, S/N: 9C937F816K4;

21     34) Apple IPOD Touch, 64 GB, S/N: 9C936Q3V6K4;

22     35) Apple IPOD Touch, 32 GB, S/N: 1B936PUW6K2;

23     36) Apple IPOD Touch, 32 GB, S/N: 1A937FMD6K2;

24     37) Apple IPOD Touch, 32 GB, S/N: 1C9379NT6K2;

25     38) Apple IPOD Touch, 32 GB, S/N: 1A937XT56K2;

26     39) Black handheld skimming device with no identifying numbers;

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 1          40) HP Notebook Laptop computer, Serial Number: 2CE6450071;

 2          41) $6,830.00 in United States Currency; and

 3          42) $2,200.00 in United States Currency.

 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

 5 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

 6 income derived as a result of the United States of America’s management of any property forfeited

 7 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

 8          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 9 certified copies to the United States Attorney’s Office.

10                     21 day of October, 2014.
            DATED this ___

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                                                  UNITED STATES DISTRICT JUDGE
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                                           PROOF OF SERVICE
 1

 2         I, Mary Stolz, Forfeiture Support Associates Paralegal, certify that the following individuals

 3 were served with copies of the Final Order of Forfeiture on October 20, 2014, by the below identified

 4 method of service:

 5         Electronic Filing
 6         R. Darren Conforth
           Law Offices of R. Darren Conforth
 7         3303 Del Mar Ave., S B
           Rosemead, CA 91770
 8         rdcornforth@yahoo.com
           Counsel for Edward Liu
 9

10                                       /s/ Mary Stolz
                                         Mary Stolz
11                                       Forfeiture Support Associates Paralegal
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